                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         SHARON LOUISE GLASSBROOK,                            Case No. 12-30133-dof
                                                              Chapter 13 Proceeding
            Debtor.                                           Hon. Daniel S. Opperman
_____________________________________/
SHARON LOUISE GLASSBROOK,

         Plaintiff,

v.                                                            Adversary Proceeding
                                                              Case No. 12-3031-dof
ROSE ACCEPTANCE, INC.
and FIRST NATIONAL BANK OF AMERICA,

      Defendants.
_____________________________________/

                      Opinion Regarding Defendants’ Motion for Abstention

                                            Introduction

         The Plaintiff, Sharon Glassbrook, filed this adversary proceeding seeking to challenge the

validity of a foreclosure sale regarding the Plaintiff’s house located at 2209 Sollman Street, Attica,

Michigan. Defendants, Rose Acceptance, Inc. and First National Bank of America, filed a Motion

for Abstention arguing that this Court should abstain either under 28 U.S.C. § 1334(c)(2) as a

mandatory abstention or 28 U.S.C. § 1334(c)(1) as a permissive abstention. For the reasons stated

in this Opinion, the Court abstains under the permissive standard pursuant to 28 U.S.C. § 1334(c)(1).

                                                Facts

         The Plaintiff owned a home in Attica, Michigan, and granted Defendant, First National Bank

of America, a mortgage on her home. As developed in this case, the Plaintiff fell behind in her


                                                  1



     12-03031-dof     Doc 23    Filed 05/04/12        Entered 05/04/12 15:46:07      Page 1 of 6
payments to First National Bank, and First National Bank initiated foreclosure of that mortgage, first

as a judicial foreclosure and subsequently as a foreclosure by advertisement.

       Plaintiff claims that there are significant procedural irregularities in the manner in which the

Defendants have conducted the foreclosure process here. In particular, Plaintiff claims to have been

confused by the initial judicial foreclosure proceeding that was ultimately dismissed so as to allow

the Plaintiff an opportunity to cure her defaults. Failing the curing of the defaults, Defendant, First

National Bank, initiated the foreclosure by advertisement process and the foreclosure sale was

conducted on July 27, 2011. Defendant, Rose Acceptance, was the highest bidder at this foreclosure

sale, bidding the full amount owed by the Plaintiff to Defendant, First National Bank.

       The Plaintiff filed a Petition seeking relief under Chapter 13 with this Court on January 12,

2012, approximately 15 days before the redemption period when the mortgage foreclosure sale was

set to expire, that is January 27, 2012. Defendant timely responded to Plaintiff’s Complaint and

brought the instant Motion after the expiration of the redemption period.

                                              Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50.

                                          Applicable Statute

       11 U.S.C. § 1334(c)(1) and (2) govern.

Section 1334(c)(1) provides for permissive abstention, stating:

       (c)(1) Nothing in this section prevents a district court in the interest of justice, or in
       the interest of comity with State courts or respect from State law, from abstaining
       from hearing a particular proceeding arising under title 11 or arising in or related
       to a case under title 11.




                                                   2



  12-03031-dof       Doc 23     Filed 05/04/12         Entered 05/04/12 15:46:07         Page 2 of 6
Section 1334(c)(2) provides for mandatory abstention, stating:

        (c)(2) Upon timely motion of a party in a proceeding based upon a State law claim
        or State law cause of action, related to a case under title 11 but not arising under title
        11 or arising in a case under title 11, with respect to which an action could not have
        been commenced in a court of the United States absent jurisdiction under this
        section, the district court shall abstain from hearing such proceeding if an action is
        commenced, and can be timely adjudicated, in a State forum of appropriate
        jurisdiction.

                                                Analysis

        At the April 18, 2012, hearing, counsel for Defendants conceded that there was no pending

action, thus making mandatory abstention inapplicable to this case. Accordingly, the Court analyzes

this case as a matter of permissive abstention only.

        In considering permissive abstention, the Court must consider a number of factors: (1) the

effect or lack of effect on the efficient administration of the estate if a court abstains; (2) the extent

to which state law issues predominate over bankruptcy issues; (3) the difficulty or unsettled nature

of the applicable state law; (4) the presence of a related proceeding commenced in state court or

other non-bankruptcy court; (5) the jurisdictional basis, if any, other than 28 U.S.C. 1334; (6) the

degree of relatedness or remoteness of the proceeding to the main bankruptcy case; (7) the substance

rather than form of an asserted “core“ proceeding; (8) the feasibility of severing state law claims

from core bankruptcy matters to allow judgments to be entered in state court with enforcement left

to the bankruptcy court; (9) the burden of this court’s docket; (10) the likelihood that the

commencement of the proceeding in bankruptcy court involves forum shopping by one of the

parties; (11) the existence of a right to a jury trial; (12) the presence in the proceeding of nondebtor

parties; and (13) any unusual or other significant factors. In re Tremaine, 188 B.R. 380, 384 (Bankr.

S.D. Ohio 1995); In re Underwood, 299 B.R. 471 (Bankr S.D. Ohio 2003).


                                                    3



  12-03031-dof        Doc 23     Filed 05/04/12         Entered 05/04/12 15:46:07        Page 3 of 6
        Applying these factors to the instant case, there will be a certain inefficiency in regard to the

bankruptcy case if this Court abstains from hearing Plaintiff’s adversary proceeding. In this case,

however, the Court has already confirmed the Debtor’s Chapter 13 Plan with payments being made

by the Debtor to the Chapter 13 Trustee for the benefit of the Defendants. For purposes of

administration, therefore, the Plaintiff’s Chapter 13 Plan can and should continue pending the

determination of the issues raised in her adversary proceeding. This factor, therefore, is at best

neutral.

        As to the second factor, state law clearly predominates over the bankruptcy issues this case.

In particular, the challenges made by the Plaintiff to the foreclosure sale are all based on state law

with little, if any, bankruptcy implications. This factor weighs strongly in favor of abstention.

        Analyzing the third factor, while the Court does not perceive the facts in the case to be

difficult, the Court does note that there have been significant and substantial changes in the State

of Michigan foreclosure statutes in the last few years. In other related matters, the Court notes that

trial courts, the Michigan Court of Appeals, and the Michigan Supreme Court have differed as to

the reading of various foreclosure statutes and the implications of those statutes. While this Court

is confident that it could resolve the matters before it in this adversary proceeding as a matter of state

law, there is a certain uncertainty here that is better deferred to a state court and the state court

process. This element weighs slightly in favor of the Court abstaining.

        Reviewing the fourth issue, there is presently no pending state court or other non-bankruptcy

court proceeding. That being said, if this Court were to abstain, Plaintiff would have the right to

raise the exact same issues raised in this adversary proceeding in a circuit court action as a plaintiff

or, could raise the exact same issues as a defense in the anticipated eviction action that Defendant,


                                                    4



  12-03031-dof        Doc 23     Filed 05/04/12         Entered 05/04/12 15:46:07        Page 4 of 6
Rose Acceptance, will undoubtedly file if this Court were to abstain. In this regard, the Court notes

that there are methods for these issues to be resolved in state court quickly.

        Turning to the fifth element, the jurisdictional basis other than 28 U.S.C. § 1334, this Court

has no jurisdiction other than that statute. This factor again weighs in favor of permissive

abstention.

        The sixth, seventh, and eighth factors require the Court to analyze Plaintiff’s entire action

to determine if certain parts of the adversary proceeding are so related to the main bankruptcy case

and consider if that relationship dictates that the Court retain the adversary proceeding, abstain, or

partially abstain. Here the impact of an adverse decision, from the Plaintiff’s standpoint on the

Plaintiff’s Plan, is clearly apparent, but the connection of the state law issues raised in this adversary

proceeding are not. Further, there are no state law claims to sever from the core bankruptcy issues

in this adversary proceeding because, as near as this Court can tell after analyzing this case, the

entire adversary proceeding is based upon Michigan law. These factors again weigh in favor of the

permissive abstention.

        As to the ninth factor, the burden of this Court’s docket, the Court notes that current filings

have reduced in the last year, so the burden of this adversary proceeding on this Court’s docket is

minimal, at best. This factor weighs in favor of the Court retaining this action.

        Turning to the possibility or likelihood that the parties have engaged in forum shopping by

selecting this Court, the Court sees no evidence weighing in favor of either the Plaintiff or the

Defendants. This factor is neutral.

        Likewise, factors (11) and (13), the right of a jury trial and any unusual or significant factors,

are at best neutral.


                                                    5



  12-03031-dof         Doc 23    Filed 05/04/12         Entered 05/04/12 15:46:07        Page 5 of 6
       Finally, the Court notes that this proceeding involves two nondebtor Defendants, which

weighs very slightly in favor of the Court abstaining.

       Analyzing all of the factors together, the Court is struck by the overriding and strong state

law influence in this case. While the Court concedes that there may be some implication for the

extension of the redemption period under In re Glenn, 760 F.2d 1428 (6th Cir. 1985), the Plaintiff

in this action seeks more than just the extension of the redemption period. Instead, the Plaintiff

seeks the voiding of a foreclosure sale. The overriding state law influences in this case dictate that

the Court abstain, subject to either of the Defendants initiating an appropriate state court action

within 28 days of this Court’s Opinion. Regardless, Plaintiff has the unfettered right to initiate a

circuit court action if deemed appropriate.

       For these reasons, the Court denies Defendants’ request to mandatorily abstain, but grants

Defendants’ request as a permissive abstention under 28 U.S.C. § 1334(c)(1), conditioned upon the

Defendants filing the appropriate state court action within 28 days of this Opinion.

       Counsel for Defendants is directed to prepare an Order consistent with this Opinion and

procure the approval of counsel for Plaintiff or comply with the notice of presentment procedures

of this Court.
                                                  .



Signed on May 04, 2012
                                                          /s/ Daniel S. Opperman
                                                        Daniel S. Opperman
                                                        United States Bankruptcy Judge




                                                  6



  12-03031-dof       Doc 23     Filed 05/04/12        Entered 05/04/12 15:46:07      Page 6 of 6
